                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                               5:94CR17-1-RLV
                                3:08CR262-2-C


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                        ORDER
                                )
                                )
CHRISTOPHER THOMAS BLEVINS      )
________________________________)

      THIS MATTER is before the Court on Defendant’s Motion to Continue and to

Transfer and Join the above-referenced matters for sentencing. The Court finds that the

interests of justice and judicial economy warrant the consolidation of these matters.

      IT IS, THEREFORE, ORDERED that the above captioned cases be consolidated.

Docket No. 5:94CR17-1-RLV is hereby transferred to the Honorable Robert J. Conrad, Jr.

to be consolidated with Docket No. 3:08CR262-2-C for sentencing purposes. IT IS

FURTHER ORDERED that Docket No. 5:94CR17-1-RLV Supervised Release Hearing is

continued.

                                            Signed: March 24, 2009




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